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                       FOR THE NORTHERN DISTRICT OF 11FXAS L           __ _J'5:'31
                               FORT WORTH DIVISION
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UNITED STATES OF AMERICA                                                    ------·------~------------




v.                                               Criminal No. 4:16-CR-132-A

MICHAEL CLAY HEASLET (24)                        ENHANCEMENT
alk/a "Whisper"                                  INFORMATION

                                                 [21 U.S.C. §§ 84l(b)(l)(B):
                                                 Penalty Enhancement for
                                                 a Prior Conviction for a Felony
                                                 Drug Offense]



THE UNITED STATES ATTORNEY CHARGES:

       PENALTY ENHANCEMENT INFORMATION

       The United States Attorney for the Northern District of Texas files this

enhancement information and notifies the above-named Defendant pursuant to Title 21

United States Code, section 851 that based on Michael Clay Heaslet's prior conviction

for a felony drug offense dated October 31, 2006, for Possession With Intent to Deliver a

Controlled Substance of four grams or more, but less than 200 grams, namely:

methamphetamine, in Case No. 0975332D, in the 396th District Court, Tarrant County,

Texas, the Defendant is subject to increased punishment if convicted. In the event that

the Defendant is convicted of Count One of the Third Superseding Indictment in this

cause, then the United States Attorney for the Northern District of Texas will move the

court to enhance the Defendant's sentence pursuant to Title 21, United States Code,


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section 841(b)(l)(B), which provides for a sentence of imprisonment of not less than 10

years and not more than life, a fine of up to $8,000,000.00, and a term of supervised

release for not less than 8 years.

                                           Respectfully submitted,

                                           JOHN R. PARKER
                                              T D TATES ATTORNEY



                                           Assistant United States Attorney
                                           Texas State Bar No. 24033206
                                           801 Cherry Street, Suite 1700
                                           Fort Worth, Texas 76102
                                           Telephone: 817-252-5200
                                           Facsimile: 817-252-5455



                                  CERTIFICATE OF SERVICE

      I hereby certify that on ~'-'susl-1~ .1-6\ G , the foregoing Government's Penalty
Information was served by first class mail to Thomas Pappas at 900 Jackson Street, Suite
330, Dallas, Texas 75202, counsel for defen~1)J" ~-

                                           ~~,A~4WNT~S~M-IT_H__________________
                                           Assistant United States Attorney




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